 3/1/2018 Screenshot_20i 8-03-01 -14-39-16.png
         Case 4:17-cv-00882-RAS-CAN                      Document 12-3
                                                                 137
                                                                                   Filed 03/01/18
                                                                                                          €y c
                                                                                                    Page 1 of 7 PageID #:




                          Hey Lynda. You're a huge Harley fan,
                      right? Check out these sweet freebies
                  4 I just found! https://i.qetitfree.us/go/
                      harlevkit Reply Stop to opt out.


                         It's time to cozy up, Lynda. Cuddle up
                         next to the fireplace with some FREE
                     ; Starbucks holiday set!

                         Claim here: https://j.qetitfree.us/qo/
                         starbucksholidavset


                         Hey, Lynda. Heard you can't get
                         enough of your snacks. Is that true?
                     I If it is, here s a link to a FREE box of
                        snacks: https://qetitfree.us/
                         freesnackbox


                         Pasta night & unlimited bread sticks
                         for Lynda! Here's free Olive Garden
                         giftcard on me! https://j.getitfree.us/
                         ao/oliveaarden Reol Stoo to oot out

         fype message


                      r~iD                                                  n

https.7/mail.google.com/mail/u/0/#inbox/161 e3542d7b46a39?projector=1 &messagePartld=0.7                                    1/1
3/1/2018 Case 4:17-cv-00882-RAS-CAN                      Document     12-3 Filed
                                                           Screen shot_2018-03-01        03/01/18
                                                                                  -14-39-40.png     Page 2 of 7 PageID #:
                                                                    138
     A           .O            a          $        >           3G ,                   14:39

                45894                                                                      1
                        Hey, Lynda. Heard you can't get
                        enough of your snacks. Is that true?
                         If it is, here's a link to a FREE box of
                         snacks: https://qetitfree.us/
                        freesnackbox


                        Pasta night & unlimited bread sticks
                        for Lynda! Here s free Olive Garden
                        giftcard on me! https://j-getitfree.us/
                        qo/oliveqarden Reply Stop to opt out


                         Lynda I found this FREE MAC
                         makeup gift. Give it to someone you
                         love or just keep it? Claim set here>>
                         https://j.qetitfree.us/qo/MACmakeup


                         We care about you... alot.
                      Beat the crowd to Walmart! How bout
                   I a FREE Beauty Box Set from them
                      Lynda?! http://claim.getitfree.us/
                      walmartkit


        Type message




https://mail.google.eom/mail/u/0/#inbox/161 e3542d7b46a39?projector=1 &messagePartld=0.6                                    1/1
3/1/2018 Case 4:17-cv-00882-RAS-CAN                      Document     12-3 Filed
                                                           Screenshot_2018-03-01         03/01/18
                                                                                 -14-39-48.png      Page 3 of 7 PageID #:
                                                                     139                                fir .
¦ a I .O'                     © $ >                                          3G , ¦ 14:39

                45894
                 a r~ ci r\ a
                                                                                             :

                        WEDiD IT!

                        We have Free Target gift cards to
                        ship out. Be prepared for Black
                        Friday! Claim your card here »>
                         https://i.aetitfree.us/ao/TaraetCard


                         Want a free phone case, Lynda? How
                         bout a free wallet? Well, you can get
                         both here! http://claim.aetitfree.us/
                         phonewallet


                         I got lazy & forgot to go Black Friday
                         Shopping.You're not alone! So here's
                         a FREE Victoria's Secret gift set!
                         https://i.aetitfree.us/ao/
                         Victo iaSecretSet


                         Pitch a tent, catch some fish or
                         SURVIVE! Do all this and more with
                         this FREE Titan Sur ivorCord! http://
                         c.laim nptitfrpp iir/Siir ivalCnrrl

         Type message


                                                                                 i=P
 https://mail.google.eom/mail/u/0/#inbox/161 e3542d7b46a39?projector-1 &messagePartld-0.5                                   1/1
3/1/2018 Case 4:17-cv-00882-RAS-CAN                      Document     12-3 Filed
                                                           Screenshot_2018-03-01        03/01/18
                                                                                 -14-39-54.png     Page 4 of 7 PageID #:
                                                                    140
     A | ,0!                      © $               >           sc ,                 14:39

   (                    45894                                                              5
                        Pitch a tent, catc some fish or
                       SURVIVE! Do all this and more with
                    I this FREE Titan SurvivorCord! http://
                        claim.getitfree.us/SurvivalCord


                        NOOOO stuck without toilet paper
                        Lynda? I found this free Charmin rolls
                    j for you! We save lives too. https://
                        j. etitfree.us/qo/FreeCharmin


                        Would you drive to Arby s or Popeyes.
                        Your friend's decision won't matter.
                    : Pick wisely to receive a FREE gift
                        card, http://claim.qetitfree.us/
                        PopevesvsArbvs


                         What's better than one Thickburger
                        from Carl s Jr ? TWO FREE
                        Thickburgers from Carl s JR! http://
                         claim.qetitfree.us/Carls Jr




        type message


                     *~zd ra i==p
https://mail.google.eom/mail/u/0/#inbox/161 e3542d7b46a39?projector=1 &messagePartld=0.4
3/1/2018 Case 4:17-cv-00882-RAS-CAN                      Document     12-3 Filed
                                                           Screensnoi_2018-03-01        03/01/18
                                                                                 -14-40-05.pi ig   Page 5 of 7 PageID #:
                                                                    141
     A I .O' Q 0 $                                     > 3G , ¦ 14:40

             145894                                                                        1
                        gift cards!

                        Get it today: https://).qetitfree.us/qo/
                        TacoBeli


                        Enter to win a BIG home goods
                        package, kitchen sets, tools, sporting
                        goods, & more.

                        You also get a FREE Cooking Ebook!
                        htt ps://qetitfree.us/homeqrandprize


                        Enter to win a BIG home goods
                        package, kitchen sets, tools, sporting
                        goods, & more.

                        You also get a FREE Cooking Ebook!
                         https://qetitfree.us/homegrandprize


                        Calm down Lynda! Still 35 Kobalt
                        freebie tool bundles left in
                        warehouse. Hurry clocks ticking for

        Type message
     I                                          1




                                                 Q c=n
https://mail.google.eom/mail/u/0/#inbox/161 e3542d7b46a39?projector=1 &messagePartld=0.3                                   1/1
    Case 4:17-cv-00882-RAS-CAN
3/1/2018                       Document 12-3 Filed 03/01/18
           Screenshot_2018-03-01-14-38-52.png                                                  Page 6 of 7 PageID #:
                                                                       142
      A lt 0'                       0 $                   3G , ¦14:38
            •
                 45894                                                                     i

                         Enter to win a BIG home goods
                         package, kitchen sets, tools, sporting
                         goods, & more.

                         You also get a FREE Cooking Ebook!
                         https://aetitfree.us/homegrandprize


                         Calm down Lynda! Still 35 Kobalt
                         freebie tool bundles left in
                         warehouse. Hurry clocks ticking for
                         you!

                         Claim here: https://i.qetitfree.us/ao/
                         Kobaltlool


                         Body Works smells delicious & heals
                         dry skin! You want in?
                  A
                         Claim up to 3 FREE Products: https://
                         getitfree.us/BathandBodyWork Reply
                         Stop to opt out



        Type message
                                                                                       I




https.7/mail.google.com/mail/u/0/#inbox/161 e3542d7b46a39?projector=1 &messagePartld=0.8                               1/1
3/1/2018 Case 4:17-cv-00882-RAS-CAN                     Document     12-3 Filed
                                                          Screenshol_2018-03-01        03/01/18
                                                                                -14-38-43.png     Page 7 of 7 PageID #:
                                                                    143
    A | .© r $                                   > sc .                          14:38

               45894                                                                       5
                        Congrats!
                        GetitFree has your FREE samples &
                        giveaways.
                        http://aetitfree.us/welcome
                        Reply FIELP for help, or STOP to opt
                        out.
                        3 msgs/wk, Msg&data rates may
                        apply.


                        YO Lynda! Only 50 free giftcards left
                        for today. Going fast, Free Tacobell
                        gift cards!

                        Get it today: https://i.aetitfree.us/ao/
                        TacoBell


                        Enter to win a BIG home goods
                        package, kitchen sets, tools, sporting
                        goods, & more.

                        You also get a FREE Cooking Ebook!
                        https://aetitfree.us/homeqrandprize


        Type message




https. /mail.google.com/mail/u/0/#inbox/161 e3542d7b46a39?projector=1 &messagePartld-0.9                                  1/1
